                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:15-cr-100-TRM-SKL
                                                       )
 v.                                                    )
                                                       )
 MICHAEL LUNSFORD                                      )


                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on March 21, 2016.

 At the hearing, defendant moved to withdraw his not guilty plea to Count One of the one-count

 Superseding Indictment and entered a plea of guilty to the lesser included offense of the charge in

 Count One, that is of conspiracy to distribute and to possess with the intent to distribute a mixture

 and substance containing methamphetamine, in violation of 21 U.S.C. §§ 846, 841(a)(1), and

 841(b)(1)(C) in exchange for the undertakings made by the government in the written plea

 agreement. On the basis of the record made at the hearing, I find the defendant is fully capable and

 competent to enter an informed plea; the plea is made knowingly and with full understanding of each

 of the rights waived by defendant; the plea is made voluntarily and free from any force, threats, or

 promises, apart from the promises in the plea agreement; the defendant understands the nature of

 the charge and penalties provided by law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One of the Superseding Indictment be granted, his plea of guilty to the lesser included offense of the

 charge in Count One of the Superseding Indictment, that is of conspiracy to distribute and to possess

 with the intent to distribute a mixture and substance containing methamphetamine, in violation of

 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C) be accepted, the Court adjudicate defendant guilty




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 of the lesser included offense of the charge in Count One of the Superseding Indictment, that is of

 conspiracy to distribute and to possess with the intent to distribute a mixture and substance

 containing methamphetamine, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C), and

 a decision on whether to accept the plea agreement be deferred until sentencing. I further

 RECOMMEND defendant remain in custody until sentencing in this matter. Acceptance of the

 plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

 specifically reserved for the district judge.


                                                 s/ fâátÇ ^A _xx
                                                 SUSAN K. LEE
                                                 UNITED STATES MAGISTRATE JUDGE



                                        NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




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